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    5                      UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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        FEIDI SUPPLY CHAIN                            Case No. 2:21-cv-01593 SVW (RAOx)
    8
        MANAGEMENT CORP., a California
    9   corporation,                                  [PROPOSED] ORDER ON
                           Plaintiff,                 STIPULATED PROTECTIVE ORDER
   10
                     vs.
   11

   12
        JOCO SALES AND MARKETING, LLC,
        a Kansas limited liability corporation; and
   13   DOES 1-10, inclusive.
   14                                Defendants.

   15

   16   AND ALL RELATED ACTIONS
   17

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   19        FOR GOOD CAUSE SHOWN, the Stipulation for Protective Order
   20   submitted by Plaintiff and Counter-Defendant Feidi Supply Chain Management
   21   Corp. and Defendant and Counter-Claimant JOCO Sales and Marketing, LLC is
   22   hereby APPROVED and made the ORDER of this Court.
   23
        IT IS SO ORDERED.
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        DATED: October 4, 2021
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   27                                   HON. ROZELLA A. OLIVER
                                        United States Magistrate Judge
   28                                        -1-
        ______________________________________________________________________________
                    [PROPOSED] ORDER ON STIPULATED PROTECTIVE ORDER
